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  RAVINDER SINGH NAGI,
  PATRICIA ARROYO RODRIGUEZ,
  LAURA CASTILLO NAGI, and
  EQUALLY AMERICAN

                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

  RANDALL JAY REEVES,                             CV 20-00433 JAO-RT
  VICENTE TOPASNA BORJA,
  EDMUND FREDERICK
  SCHROEDER, JR.,
  RAVINDER SINGH NAGI,
  PATRICIA ARROYO RODRIGUEZ,                      AMENDED COMPLAINT
  LAURA CASTILLO NAGI, and
  EQUALLY AMERICAN,

                      Plaintiffs,

       v.

  SCOTT NAGO,
   in his official capacity as Chief
   Election Officer for the Hawaii Office
   of Elections,

  GLEN TAKAHASHI,
   in his official capacity as Clerk of the
   City and County of Honolulu,

  KATHY KAOHU,
   in her official capacity as Clerk of the
   County of Maui,

  UNITED STATES OF AMERICA,

  MARK ESPER,
   in his official capacity as the
   Secretary of Defense,



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  FEDERAL VOTING ASSISTANCE
   PROGRAM, and

   DAVID BEIRNE,
    in his official capacity as Director of
    the Federal Voting Assistance
    Program,

                       Defendants.


                              AMENDED COMPLAINT

        Plaintiffs Randall Jay Reeves, Vicente Topasna Borja, Edmund Frederick

  Schroeder, Jr., Ravinder Singh Nagi, Patricia Arroyo Rodriguez, Laura Castillo

  Nagi (collectively, the “Individual Plaintiffs”) and Equally American Legal

  Defense and Education Fund (“Equally American”), on personal knowledge as to

  their own acts and upon information and belief reasonably formed after reasonable

  inquiry as to the acts of others, hereby file this Complaint against Scott Nago in his

  official capacity as Chief Election Officer for the Hawaii Office of Elections, Glen

  Takahashi in his official capacity as Clerk of the City and County of Honolulu,

  Hawaii, Kathy Kaohu in her official capacity as Clerk of the County of Maui,

  Mark Esper in his official capacity as the Secretary of Defense, David Beirne his

  official capacity as Director of the Federal Voting Assistance Program, the Federal

  Voting Assistance Program, and the United States of America (“Defendants”) and

  allege as follows:




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                            NATURE OF THE ACTION

        1.     This action concerns the federal Uniformed and Overseas Citizens

  Absentee Voting Act, Pub. L. No. 99-410, codified as amended at 52 U.S.C. §§

  20301 to 20311 (“UOCAVA”), and the Hawaii statutes implementing its

  requirements, known as the Uniform Military and Overseas Voters Act (“Hawaii

  UMOVA”) and codified at H.R.S. §§ 15D-1 to -18, and the related administrative

  rules promulgated by the Hawaii Office of Elections, H.A.R. § 3-177-600.1

        2.     Pursuant to these laws, former Hawaii residents are allowed to

  continue voting in Hawaii by absentee ballot for President and for voting

  representation in the U.S. Senate and U.S. House of Representatives if they reside

  in the Northern Mariana Islands (“NMI”), certain other insular territories, or in a

  foreign country, but not if they reside in Guam, the U.S. Virgin Islands, American

  Samoa, or Puerto Rico.

        3.     This disparate treatment violates the U.S. Constitution’s guarantee of

  equal protection. Equal protection rights for residents of U.S. Territories are

  guaranteed by either the Equal Protection Clause of the Fourteenth Amendment or

  the equal-protection component of the Due Process Clause of the Fifth Amendment


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         Hawaii’s Chief Election Officer recently adopted new voting regulations,
  but in substance they continue to authorize persons eligible to vote absentee under
  UOCAVA to vote absentee in Hawaii. See H.A.R. § 3-177-600(d)(4). The prior
  regulation addressing the same issue was previously codified at H.A.R. § 3-174-22
  and has now been repealed.

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  to the U.S. Constitution. See Examining Bd. v. Flores de Otero, 426 U.S. 572, 600

  (1976); Calero-Toledo v. Pearson Yacht Leasing Co., 416 U.S. 663, 668 (1974).

        4.     Disparate treatment with respect to voting is an especially grievous

  constitutional violation because voting is a fundamental right. As the Supreme

  Court recognized in Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886), nearly one

  hundred and thirty-five years ago, “the political franchise of voting” is a

  “fundamental political right, because [it is] preservative of all rights.” And more

  than fifty-six years ago, the Supreme Court stated that “[n]o right is more precious

  in a free country than that of having a voice in the election of those who make the

  laws under which, as good citizens, we must live. Other rights, even the most

  basic, are illusory if the right to vote is undermined. Our Constitution leaves no

  room for classification of people in a way that unnecessarily abridges this right.”

  Wesberry v. Sanders, 376 U.S. 1, 17-18 (1964). Yet former residents of Hawaii

  who relocate to Guam, the U.S. Virgin Islands, American Samoa, or Puerto Rico

  are not afforded this right with respect to the federal election for President or

  voting members of Congress, even though they would be so enfranchised if they

  relocated to anywhere else in the world, including the NMI.

        5.     As Congress itself recognized in enacting predecessor legislation to

  UOCAVA, “the right to vote for national officers is an inherent right and privilege

  of national citizenship,” H.R. Rep. No. 94-649, pt. 1, at 5 (1975), reprinted in 1975


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  U.S.C.C.A.N. 2358, 2362; and “American citizens outside the United States . . .

  have their own Federal stake – their own U.S. legislative and administrative

  interests – which may be protected only through representation in Congress and in

  the executive branch,” id. at 7, 1975 U.S.C.C.A.N. at 2364. And as Rep. Al Swift

  described it at the time of UOCAVA’s enactment, the law was intended to “protect

  a fundamental right” retained by American citizens, “wherever in the world they

  might be.” 132 Cong. Rec. 20,976 (1986) (emphasis added).

        6.     The federal and state laws at issue violate the fundamental guarantee

  of equal protection with respect to voting rights. Congress selectively extended the

  franchise only to some disenfranchised U.S. citizens residing outside the States,

  while denying it to others who are similarly situated. Under UOCAVA, States are

  required to allow former state citizens residing outside the United States or in the

  NMI to vote on an absentee basis in federal elections. But under the same law,

  States are free to deny that right to similarly situated persons residing in the other

  U.S. Territories overseas.

        7.     The Constitution does not permit Congress and the States to pick and

  choose which voters living outside the States are able to maintain their right to vote

  for President and voting representation in the U.S. House and Senate.

        8.     The discriminatory injury inflicted by these laws is aggravated by the

  fact that UOCAVA and Hawaii law single out a narrow group of former state


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  residents for disfavored treatment: those who move to Guam, the U.S. Virgin

  Islands, American Samoa, or Puerto Rico. Since 1898, residents of America’s

  overseas territories have been improperly relegated to a form of second-class

  citizenship based on the concern that these areas were populated by an “alien

  races” differing in “religion, customs, laws, methods of taxation, and modes of

  thought.” Downes v. Bidwell, 182 U.S. 244, 287 (1901). The discriminatory

  application of voting rights under UOCAVA and Hawaii law is an extension of this

  injustice.

         9.    The residents of the Territories comprise a discrete and insular

  minority that has been locked out of the political process by (among other things)

  being denied the right to vote for President, Vice President and voting

  representation in Congress. This political powerlessness has real implications for

  the lives of U.S. citizens living in the Territories. As detailed below, these

  Territories have a proud tradition of military service yet cannot vote for their

  Commander-in-Chief; they pay many federal taxes yet have no voting

  representation in Congress regarding how their tax dollars are spent; and they are

  subject to the federal criminal code yet have no say in who decides who will serve

  as federal judges or federal prosecutors in their communities.

         10.   Former state residents of Hawaii living in Guam, the U.S. Virgin

  Islands, American Samoa, and Puerto Rico are disenfranchised and relegated to a


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  status as second-class citizens in ways they would not have been had they moved

  to anywhere else on Earth. Indeed, even if they resided in Antarctica – or left

  Earth entirely to work at the International Space Station – they would still be

  permitted to vote for President and voting members of Congress in federal

  elections. Moreover, Hawaii’s laws permit U.S. citizens who have never resided in

  Hawaii to vote absentee under Hawaii UMOVA if a parent or guardian was last

  domiciled in the state of Hawaii, while denying absentee voting rights to former

  residents of Hawaii who have relocated to the Territories of Guam, the U.S. Virgin

  Islands, American Samoa, and Puerto Rico. See H.R.S. § 15D-2; H.A.R. § 3-177-

  600.

         11.   Neither Congress nor Hawaii has offered any explanation or

  justification for continuation of these arbitrary classifications.

         12.   Plaintiffs are individuals who are injured by virtue of the Defendants’

  disparate treatment of former state residents residing in the Territories and

  overseas, along with Equally American. The Individual Plaintiffs, who are former

  Hawaii residents, are not permitted to vote for President or voting representation in

  Congress by absentee ballot in Hawaii. Equally American counts these former

  Hawaii residents among its members, and the inability of its members to vote for

  President or voting representation in Congress by absentee ballot in Hawaii

  diminishes their communities’ access to the political process.


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        13.    Plaintiffs seek a declaratory judgment that UOCAVA and Hawaii

  UMOVA as applied to them violate the Fifth Amendment and the Fourteenth

  Amendment, respectively. Plaintiffs also seek an injunction directing Defendants

  to accept Individual Plaintiffs’ applications to vote absentee in federal elections in

  Hawaii.

                                        PARTIES
        A.     Plaintiffs
        14.    a.     Plaintiff Randall Jay Reeves is a U.S. citizen born in Ohio in

  1965. He and his family first moved to Guam in 1996 on assignment as an

  employee of the Federal Aviation Administration (“FAA”). In 2002, he was

  transferred by the FAA to Hawaii, where he was a resident of Maui County until

  2004, when he was transferred once again by the FAA back to Guam. He is

  currently a resident of Ordot, Guam. Defendants will not permit Mr. Reeves to

  vote for President or for voting members of Congress by virtue of his residence in

  Guam. Under UOCAVA and Hawaii UMOVA, Mr. Reeves would continue to be

  able to vote for President and voting Members of the U.S. House and Senate by

  absentee ballot in Hawaii if he were a resident of the NMI or a foreign country.

               b.     Mr. Reeves is a Veteran, serving in the U.S. Air Force from

  1984 to 1988, when he was honorably discharged. From 1985 to 1988 he served

  on the front lines of the Cold War at Sembach Air Base in Germany. After leaving



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  military service, Mr. Reeves remained in Germany as a civilian contractor for the

  Department of Defense until 1992. Since 1992, Mr. Reeves has served his country

  as a federal employee, working for the FAA in a number of capacities.

               c.    Mr. Reeves was eligible to vote for President by absentee ballot

  in Rhode Island while still a resident of Germany. However, now as a resident of

  Guam, he is ineligible to vote for President, either on Guam or by absentee ballot

  in Hawaii, his most recent former state of residence. Mr. Reeves participates in

  local Guam elections, and he would like to be able to vote for President and have

  voting congressional representation in Guam. But until this is possible, he desires

  to vote for President and voting Members of the U.S. House and Senate by

  absentee ballot in Hawaii. Mr. Reeves believes it is shameful that the United

  States continues to disenfranchise U.S. citizens based on where they happen to

  live.

               d.    As an employee of the FAA, Mr. Reeves works closely with

  colleagues in the Northern Mariana Islands. One of his FAA colleagues in the

  NMI is, like Mr. Reeves, a former resident of Hawaii who received an assignment

  to work in a U.S. Territory. Under UOCAVA and Hawaii UMOVA, his colleague

  remains able to vote for President by absentee ballot in Hawaii while a resident of

  the NMI, even as Mr. Reeves is disenfranchised based on his residency in Guam.

  Mr. Reeves does not understand how federal and state law allowed him to vote for


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  President by absentee ballot when he was a resident of Germany and allow his

  colleague to vote for President by absentee ballot as a resident of the NMI, but do

  not allow Mr. Reeves to do so while he is a resident of Guam. Further, Mr. Reeves

  is upset that he is disenfranchised as a direct result of his federal service, having

  been transferred by the FAA from Hawaii, where he was eligible to vote for

  President, to Guam, where he is unable to vote for President.

        15.    a.     Plaintiff Vicente Topasna Borja is a U.S. citizen born in Guam

  in 1950. He currently resides in Santa Rita, Guam. In 1990, Mr. Borja was a

  resident of the City and County of Honolulu, Hawaii. Defendants will not permit

  Mr. Borja to vote for President or for voting members of Congress by virtue of his

  residence in Guam. Under UOCAVA and Hawaii UMOVA, Mr. Borja would

  continue to be able to vote for President and voting Members of the U.S. House

  and Senate by absentee ballot in Hawaii if he were a resident of the NMI or a

  foreign country.

               b.     Mr. Borja is a Vietnam-era Veteran who served 28 years in the

  U.S. Navy. In 1969, while studying at the University of Guam, it became clear to

  Mr. Borja that based on his low draft number, he was likely to be drafted to serve

  in the U.S. Armed Forces – despite not being able to vote for his Commander-in-

  Chief. Rather than wait to be drafted, Mr. Borja volunteered to serve in the U.S.

  Navy. Over the course of his military service, Mr. Borja served multiple tours at


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  sea throughout the world, often being away from his family for periods of 6 to 9

  months at a time.

               c.     In 1990, while serving in Japan, Mr. Borja sought and received

  a humanitarian reassignment from Japan to Hawaii so that his wife could receive

  medical treatment not available in Japan for an aggressive form of cancer. He

  established residency in Hawaii for what was supposed to be a two-year tour.

  Unfortunately, his wife’s cancer treatment was not successful, and his family was

  told that her cancer was terminal with no additional available medical treatment.

  His wife’s dying wish was that she could spend her remaining time in Guam with

  family and friends, so Mr. Borja sought and received another humanitarian

  reassignment from Hawaii to Guam. A week after they returned to Guam, his wife

  passed away. Mr. Borja’s military service continued in Guam, where he raised his

  two children with the support of his family. He received an honorable discharge in

  1997 after a decorated military service career.

               d.     As a resident of Guam, Mr. Borja is unable to vote for

  President, either on Guam or by absentee ballot in Hawaii, his former state of

  residence. Mr. Borja actively participates in local Guam elections; this year he cast

  his ballot on the first day of early voting. He would like to be able to vote for

  President and have voting congressional representation in Guam. But until this is

  possible, he desires to vote for President and voting Members of the U.S. House


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  and Senate by absentee ballot in Hawaii. Mr. Borja believes that if one can be

  drafted to serve in the U.S. Armed Forces, as residents of Guam are, one should be

  able to vote for the Commander-in-Chief.

               e.    Like many on Guam, Mr. Borja’s naval career is one chapter of

  his family’s proud history of military and federal service. His father spent his

  career in the federal civil service working at the Naval Supply Depot in Guam.

  Two of his uncles served distinguished military careers. His son continues a

  distinguished military service career as an officer, including multiple deployments

  in Iraq and Afghanistan and current service at the Pentagon. Mr. Borja believes

  that Guam’s high rate of military service demonstrates the importance of extending

  voting rights to the people of Guam, particularly for those who have served to

  defend democracy and the U.S. Constitution through military or federal service.

        16.    a.    Plaintiff Edmund Frederick Schroeder, Jr. is a U.S. citizen born

  in North Carolina in 1945. He currently resides in Mangilao, Guam. From 1976 to

  1984, Dr. Schroeder was a resident of the City and County of Honolulu, Hawaii.

  Defendants will not permit Dr. Schroeder to vote for President or for voting

  members of Congress by virtue of his residence in Guam. Under UOCAVA and

  Hawaii UMOVA, Dr. Schroeder would continue to be able to vote for President

  and voting Members of the U.S. House and Senate by absentee ballot in Hawaii if

  he were a resident of the NMI or a foreign country.


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               b.      Dr. Schroeder was drafted to serve in the U.S. Armed forces in

  1968 just as he was beginning medical school at Case Western Reserve University

  in Cleveland, Ohio. After completing medical school and residency, Dr. Schroeder

  was stationed in Hawaii in 1976, where he served at Schofield Barracks, providing

  primary care to military service members and their dependents. Dr. Schroeder was

  honorably discharged in 1979. He continued living and practicing medicine in

  Hawaii until 1984.

               c.      In 1984, Dr. Schroeder and his family moved to Guam. He has

  now practiced family medicine in Guam for over 35 years, providing care to

  thousands of island residents, including many of the most vulnerable. Throughout

  his career, he has seen firsthand the impact that disparities in federal healthcare

  spending have had on the provision of medical care on Guam, including the

  negative impact it has had on the island’s response to COVID-19. For example, it

  took months after the onset of COVID-19 for Guam to have access to even a

  minimum supply of testing. And once tests were more widely available, capacity

  for analyzing the tests was limited, sometimes resulting in lengthy delays of up to

  10 days or more. More broadly, because of federal Medicaid caps, in many years

  Guam’s Medicaid program has run out of funding part-way through the year,

  forcing practitioners and individuals to ration much-needed medical care. Over Dr.

  Schroeder’s career, federal caps on Medicaid have limited his practice’s ability to


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  take on additional Medicaid patients, and has at times limited care for those his

  practice is able to take on. As a physician who conducts disability exams for the

  Social Security Administration, he has helped patients in the NMI receive

  Supplemental Security Income (SSI), even as his patients on Guam who suffer

  similar disabilities are denied SSI benefits. Dr. Schroeder believes residents of

  Guam should enjoy the same federal healthcare benefits as the residents of the rest

  of the United States. He believes that if residents of Guam had expanded voting

  rights and political representation in the federal government, they would be more

  likely to receive equitable treatment in federal healthcare programs. This is one of

  many reasons that Dr. Schroeder would like to be able to vote for President and

  voting representation in Congress.

               d.    As a resident of Guam, Dr. Schroeder is unable to vote for

  President, either on Guam or by absentee ballot in Hawaii, his former state of

  residence. Dr. Schroder has been an active voter throughout his life. He would

  like to be able to vote for President and have voting congressional representation in

  Guam. But until this is possible, he desires to vote for President and voting

  Members of the U.S. House and Senate by absentee ballot in Hawaii. Dr.

  Schroeder believes that all U.S. citizens should be able to vote for President and

  have voting representation in Congress, wherever they may live.




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        17.    a.    Plaintiff Ravinder Singh Nagi is a U.S. citizen born in Guam in

  1976. He currently resides in St. Thomas, U.S. Virgin Islands. From 2002 to

  2005, Mr. Nagi was a resident of the City and County of Honolulu, Hawaii.

  Defendants will not permit Mr. Nagi to vote for President or for voting members of

  Congress by virtue of his residence in the U.S. Virgin Islands. Under UOCAVA

  and Hawaii UMOVA, Mr. Nagi would continue to be able to vote for President

  and voting Members of the U.S. House and Senate by absentee ballot in Hawaii if

  he were a resident of the NMI or a foreign country.

               b.    Mr. Nagi was born and raised in the U.S. Territory of Guam

  before he moved stateside to pursue his collegiate and legal education. After

  graduating from law school, he moved to Hawaii in 2002 to begin his legal career

  at the Hawaii Legal Aid Society. In 2005, Mr. Nagi moved to St. Thomas in the

  U.S. Virgin Islands to join his parents, who had moved from Guam to the U.S.

  Virgin Islands several years earlier. He now runs one of the top law firms in the

  U.S. Virgin Islands.

               c.    As a resident of the U.S. Virgin Islands, Mr. Nagi is unable to

  vote for President, either in the U.S. Virgin Islands or by absentee ballot in Hawaii,

  his former state of residence. Mr. Nagi has been an active voter throughout his

  life, including voting for President in Hawaii. He would like to be able to vote for

  President and have voting congressional representation in the U.S. Virgin Islands.


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  But until this is possible, he desires to vote for President and voting Members of

  the U.S. House and Senate by absentee ballot in Hawaii.

                d.     In 2008, Mr. Nagi participated in supporting the primary

  campaign of then Senator Barack Obama. He attended a fundraiser in the U.S.

  Virgin Islands that Mr. Obama attended and was active in encouraging others in

  the U.S. Virgin Islands to vote for Mr. Obama in the primary election. Mr. Nagi

  found it eye-opening that he could vote for President during the primary process,

  and even make contributions to support a presidential candidate, but was

  completely disenfranchised in the general election. Now that his two sons are

  getting closer to voting age, Mr. Nagi has taught them the importance of voting

  and political participation. One of the primary reasons he is fighting to expand

  voting rights in U.S. territories is so that no child in the Territories is subject to the

  kind of disenfranchisement he has experienced in both Guam and the U.S. Virgin

  Islands. Mr. Nagi is also confused as to why his right to vote for President as a

  U.S. citizen would be protected if he moved to a foreign country like the British

  Virgin Islands or a U.S. Territory like NMI, but was not protected in his move to

  the U.S. Virgin Islands. The disparate treatment is particularly vexing to Mr. Nagi

  because had he moved from Hawaii to Tortola in the British Virgin Islands, just a

  short distance away from his current residence, Mr. Nagi would have been able to

  vote for President under both UOCAVA and Hawaii UMOVA.


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        18.     a.    Plaintiff Patricia Arroyo Rodriguez is a U.S. citizen born in

  Texas in 1959. She currently resides in Tumon, Guam. From 1978 to 1994, Ms.

  Rodriguez was a resident of the City and County of Honolulu, Hawaii. Defendants

  will not permit Ms. Rodriguez to vote for President or for voting members of

  Congress by virtue of her residence in Guam. Under UOCAVA and Hawaii

  UMOVA, Ms. Rodriguez would continue to be able to vote for President and

  voting Members of the U.S. House and Senate by absentee ballot in Hawaii if she

  were a resident of the NMI or a foreign country.

               b.     For the past several decades, Ms. Rodriguez has been a popular

  radio and talk show host for the Sorensen Media Group. As someone deeply

  engaged in covering and discussing the news of the day, she has seen first-hand the

  impact that the denial of voting rights has had on Guam, whether it is negotiating

  with federal officials during the military buildup, addressing disparities in federal

  healthcare programs, seeking increased reimbursement for costs associated with

  regional migration under the Compacts of Free Association, or engaging the

  federal government to support decolonization and CHamoru self-determination.

  Ms. Rodriguez believes that expanded voting rights in Guam could have a positive

  impact on a range of policy issues given that Guam’s greatest challenge in

  Washington, D.C., is often either a lack of knowledge or apathy on the part of

  federal officials whose decisions can have literal life-and-death consequences to


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  island residents. She believes that increased democratic accountability could lead

  to a more responsive federal government when it comes to issues important to the

  people of Guam.

               c.    As a resident of Guam, Ms. Rodriguez is unable to vote for

  President, either on Guam or by absentee ballot in Hawaii, her former state of

  residence. Ms. Rodriguez has been an active voter throughout her life, both in

  Hawaii and on Guam. She would like to be able to vote for President and have

  voting congressional representation in Guam. But until this is possible, she desires

  to vote for President and voting Members of the U.S. House and Senate by

  absentee ballot in Hawaii. Ms. Rodriguez believes that all U.S. citizens should be

  able to vote for President and have voting representation in Congress, wherever

  they may live.

        19.    a.    Plaintiff Laura Castillo Nagi is a U.S. citizen born in Illinois in

  1975. She currently resides in St. Thomas, U.S. Virgin Islands. From 2002 to

  2005, Ms. Nagi was a resident of the City and County of Honolulu, Hawaii.

  Defendants will not permit Ms. Nagi to vote for President or for voting members of

  Congress by virtue of her residence in the U.S. Virgin Islands. Under UOCAVA

  and Hawaii UMOVA, Ms. Nagi would continue to be able to vote for President

  and voting Members of the U.S. House and Senate by absentee ballot in Hawaii if

  she were a resident of the NMI or a foreign country.


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               b.    Ms. Nagi moved to Hawaii in 2002 to continue her legal career

  at the Legal Aid Society of Hawaii and then the Domestic Violence Clearinghouse

  (now known as the Domestic Violence Action Center). In 2005, Ms. Nagi moved

  to St. Thomas. She now has her own legal practice where she is active in family

  court, often serving as a court appointed guardian ad litem in abuse/neglect cases

  and representing minors in juvenile delinquency matters. In addition to her legal

  practice, she is active in the community, providing education and training on

  mindfulness and emotional intelligence. She also serves as Co-Chair of the

  Attorney Well-Being Committee of the Virgin Islands Bar Association.

               c.    As a resident of the U.S. Virgin Islands, Ms. Nagi is unable to

  vote for President, either in the U.S. Virgin Islands or by absentee ballot in Hawaii,

  her former state of residence. Ms. Nagi voted for President when she was a

  resident of Hawaii. She would like to be able to vote for President and have voting

  congressional representation in the U.S. Virgin Islands. But until this is possible,

  she desires to vote for President and voting Members of the U.S. House and Senate

  by absentee ballot in Hawaii.

        20.    a.    Equally American Legal Defense and Education Fund is a

  nonpartisan civil rights organization founded in 2013 that advocates for equality

  and voting rights for the nearly 4 million citizens living in U.S. Territories – 98%

  of whom are racial or ethnic minorities. Its membership includes Individual


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  Plaintiffs and other current residents of Guam, the U.S. Virgin Islands, Puerto

  Rico, American Samoa, and the Northern Mariana Islands who are former

  residents of Hawaii or other States. Equally American’s values are centered on the

  basic principle that all U.S. citizens should have equal rights and representation,

  wherever they live. Equally American follows in the footsteps of earlier civil

  rights movements to use the power of impact litigation and grass roots organizing

  to help drive change for U.S. citizens who are disenfranchised from the political

  process. Both inside and outside the courtroom, Equally American works to raise

  the visibility of these disenfranchised Americans at a national level. Equally

  American does not take a position on the political status of U.S. Territories.

               b.     Equally American recognizes that the political empowerment of

  residents of Guam, the U.S. Virgin Islands, and other Territories is critical to

  addressing the interests and needs of these communities. It believes that

  continuing political disenfranchisement contributes to many of the hardships facing

  these marginalized communities, from disparities in federal healthcare benefits to

  threats posed by natural disasters or foreign adversaries. Equally American

  believes that expanding voting rights to residents of U.S. Territories who could

  vote for President if they lived in the NMI or a foreign country would provide new

  opportunities for national political engagement on issues that affect daily life in

  these neglected American communities. Expanding voting rights in this way will


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  also create a much-needed political incentive for Congress and the President to

  take action to ensure full voting rights for all U.S. citizens who live in the

  Territories. Equally American’s advocacy will not rest until every U.S. citizen is

  able to vote for President and has voting representation in Congress, whether they

  are a resident of a State or Territory.

        B.     Defendants
        21.    Defendant Scott Nago is being sued in his official capacity as Chief

  Election Officer of the Hawaii Office of Elections. By statute, the Chief Election

  Officer “shall be the state official responsible for implementing” Hawaii UMOVA

  “and the State’s responsibilities under” UOCAVA. H.R.S. § 15D-4.

        22.    Defendant Glen Takahashi is being sued in his official capacity as

  Clerk of the City and County of Honolulu, Hawaii. By statute, county clerks in

  Hawaii, including the City Clerk for the City and County of Honolulu, have

  responsibility for voter registration and for determining eligibility for registration

  based on residency. H.R.S. §§ 11-1, -11 & -13.

        23.    Defendant Kathy Kaohu is being sued in her official capacity as Clerk

  of the County of Maui, Hawaii.

        24.    Defendant United States of America enacted UOCAVA and exercises

  authority over the Territories where the Individual Plaintiffs reside.




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        25.    Defendant Mark Esper is being sued in his official capacity as the

  Secretary of Defense. Under Executive Order Number 12,642, 53 Fed. Reg.

  21,975, at 21,975 (June 8, 1988), the Secretary of Defense is “designated as the

  ‘Presidential designee’” under UOCAVA, 52 U.S.C. § 20301(a).

        26.    Defendant Federal Voting Assistance Program (“FVAP”) is charged

  with the administration of federal responsibilities under UOCAVA pursuant to a

  delegation of authority by the Secretary of Defense. See Department of Defense

  Instruction 1000.04 (Sept. 13, 2012).

        27.    Defendant David Beirne is being sued in his official capacity as

  Director of FVAP. In that capacity, Director David Beirne is responsible for all

  aspects of FVAP and has the authority to administer that responsibility, including

  the establishment and maintenance of a voting assistance program “to assist all

  eligible voters as covered by” UOCAVA. See Department of Defense Instruction

  1000.04, at Encl. 3.

        28.    Each of the above-named Defendants has been sued in its, his or her

  official capacity. At all relevant times, Defendants have acted under the color of

  statutes, ordinances, regulations, customs and usages of the State of Hawaii or the

  United States.




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                            JURISDICTION AND VENUE

        29.    This action seeks declaratory relief under the Federal Declaratory

  Judgment Act of 1934, 28 U.S.C. §§ 2201-02.

        30.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331

  because Plaintiffs’ causes of action arise under the Due Process and Equal

  Protection Clauses of the U.S. Constitution and under federal statute, 42 U.S.C. §

  1983. The Court also has subject matter jurisdiction under 28 U.S.C. § 1343(a)(3),

  because this is an action to “redress the deprivation, under color of any State law,

  statute, ordinance, regulation, custom or usage, of any right, privilege or immunity

  secured by the Constitution of the United States or by any Act of Congress

  providing for equal rights of citizens or of all persons within the jurisdiction of the

  United States.”

        31.    Venue is proper in this district under 28 U.S.C. § 1391(b)(1) & (e)(1)

  because the United States, David Beirne, the Federal Voting Assistance Program,

  and Mark Esper, are federal defendants; Defendants Scott Nago, Glen Takahashi

  and Kathy Kaohu reside in this district; and a substantial part of the events and

  omissions giving rise to Plaintiffs’ claims occurred in this district.

        32.    Plaintiffs have satisfied or will timely satisfy any requirements

  imposed on them by Federal Rule of Civil Procedure 5.1, which applies because

  this case challenges the constitutionality of federal and state statutes. No notice or



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  certification to the Attorney General of the United States is required because the

  United States is a party. Fed. R. Civ. P. 5.1(a)(1)(A); 28 U.S.C. § 2403(a). Notice

  to the Attorney General of Hawaii likely is also not required because the Chief

  Elections Officer is an officer or employee of the State of Hawaii, but notice is

  nevertheless being made as soon after the filing of this complaint as possible out of

  an abundance of caution. Fed. R. Civ. P. 5.1(a)(1)(B); 28 U.S.C. § 2403(b).

                             FACTUAL ALLEGATIONS

        A.      History Of Overseas U.S. Territories
        33.     The United States has several Territories, including Puerto Rico,

  Guam, the U.S. Virgin Islands, American Samoa, and the NMI. These

  jurisdictions are home to nearly 4 million people, a population greater than almost

  half the States and larger than the five smallest States combined. According to the

  U.S. Census, more than 98% of the residents of these areas are racial or ethnic

  minorities.

        34.     Puerto Rico and Guam became a part of the United States in 1898

  following the Spanish-American War. American Samoa became part of the United

  States after Deeds of Cession were signed in 1900 and 1904. The U.S. Virgin

  Islands was purchased by the United States from Denmark in 1917. The NMI

  became part of the United States in 1986.




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        35.    Congress recognized people born in Puerto Rico were U.S. citizens in

  1917, in the U.S. Virgin Islands in 1927, in Guam in 1950, and in the NMI in 1986.

  People born in American Samoa owe permanent allegiance to the United States;

  however, the federal government labels them as nationals, but not citizens, of the

  United States.

        36.    Before it was admitted to the Union as a state in 1959, Hawaii was

  also subjected to a U.S. territorial status akin to that of the present-day Territories

  mentioned above. The United States declared Hawaii a Territory by way of a joint

  resolution of Congress in 1898. Two years later, Congress passed an Organic Act

  establishing Hawaii’s territorial government. Through this Organic Act, the

  Federal government maintained direct and absolute control over how Hawaii’s

  territorial government was organized and operated, thereby depriving Hawaii’s

  indigenous native Hawaiian inhabitants and non-native inhabitants any meaningful

  opportunities to vote and participate in government. The President, with the

  consent of the Senate, appointed the principal officers of the Territory – the

  Governor and Secretary. The Governor appointed heads of the various territorial

  departments. All territorial court judges (supreme court, circuit court, federal

  district court) were appointed by the President. While the Organic Act set up a

  bicameral legislature with legislators that any citizen of Hawaii could vote for,

  Congress held the ultimate right to amend or invalidate any territorial law enacted


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  by the Hawaii territorial legislature. Further, Hawaii’s Organic Act provided that

  residents of Hawaii would be represented in Congress only by a non-voting

  delegate. Notably, however, the Supreme Court made clear in a ruling in 1927,

  well before Hawaii became a State, that the same “fundamental rights of the

  individual” that are protected in the States under the auspices of the Fourteenth

  Amendment “are guaranteed by the Fifth Amendment against” the “federal

  government and agencies set up by Congress for the government of the territory.”

  Farrington v. Tokushige, 273 U.S. 284, 299 (1927) (extending the holdings of

  Meyer v. Nebraska, 262 U.S. 390 (1923) and related cases to the regulation of

  schools in Hawaii).

        37.    While each area has a unique history and people, the Territories are

  similarly situated with respect to their relationship to the federal government.

  While each has a local government, ultimate authority rests with Congress, which

  has broad power over the Territories under Article IV, Section 3 of the U.S.

  Constitution.

        38.    The Territories have a proud tradition of military service, with their

  residents serving in every major American conflict since World War I. Territorial

  residents volunteer to serve in the U.S. Armed Forces at rates that are generally

  significantly higher than the 50 States. According to the 2010 Census, over

  100,000 veterans currently reside in the Territories. Casualty rates Iraq and


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  Afghanistan for service members from Guam and the U.S. Virgin Islands have

  been more than three times the national average. Like other Americans, U.S.

  citizens who reside in the Territories are required to register for selective service

  when they turn eighteen. These Americans are subject to the military draft the

  same as other Americans, with more than 50,000 territorial residents having served

  in Vietnam.

        39.     Residents of the Territories also contribute a significant amount to the

  federal treasury through federal taxes. In 2018 alone, residents of the Territories

  paid more than $3.5 billion in federal taxes according to the 2018 Internal Revenue

  Service Data Book. Territorial residents pay most federal taxes, although only

  certain federal employees pay federal income taxes. Territorial residents also

  receive most federal benefits, although many major benefits like Medicaid have

  funding levels capped at levels well below what residents of the States receive.

        40.     Federal criminal laws fully apply in the Territories. In 2012, more

  than 2,100 individuals were prosecuted for federal crimes in the Territories, with

  more than 1,500 receiving a criminal sentence according to the Bureau of Justice

  Statistics Federal Justice Statistics Program. Under federal criminal law, territorial

  residents may face life in prison or even the death penalty, even though none of the

  Territories provide for capital punishment, and several expressly prohibit it. More

  broadly, because of the disenfranchisement of territorial residents in all the


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  affected Territories, there is no democratic accountability with respect to the

  federal laws they must follow, or with the federal prosecutors and federal judges

  who enforce the law, preside over trials, and determine sentencing.

        41.    While Congress has broad power over the Territories, each Territory’s

  sole federal representation is a non-voting Delegate in the U.S. House of

  Representatives, who shares many of the privileges of other Members, but who

  cannot vote on final passage of legislation. The Territories lack any form of

  representation, voting or not, in the U.S. Senate. In presidential elections,

  territorial residents fully participate in the party primaries, with Delegates

  attending the national party conventions. But when it comes to the General

  Election, the Territories are not included in the Electoral College, as are residents

  of the States (and the District of Columbia based on the Twenty-Third

  Amendment).

        42.    Voting in the Territories does not break down along any predictable

  party lines. For example, Guam currently has a Democratic Governor, but for the

  preceding sixteen years Guam’s Governor was a Republican. Each Territory has

  elected both Democrats and Republicans to represent them in Congress. Perhaps

  most striking, Guam includes a straw poll for President on its General Election

  ballot, with Guam voters – who cast their votes a day ahead of the rest of the




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  country – supporting the eventual winner in every presidential election between

  1984 and 2012.

        43.    Residents of U.S. Territories are able to vote for President should they

  become a resident of a State or the District of Columbia. Indeed, there is a

  territorial diaspora of more than 5 million Americans living in the States who have

  ties to the Territories, whether through family or having actually lived in a

  Territory. Included among those in the diaspora who will have a particularly

  influential political voice in 2020 are the more than 750,000 U.S. citizens of voting

  age with ties to the Territories, who live in Florida, 340,000 in Pennsylvania,

  75,000 in North Carolina, 70,000 in Georgia, 40,000 in Wisconsin, and 30,000 in

  Arizona and Michigan. Each year, tens of thousands of territorial residents move

  to the States. Thousands of residents of the States also move to the Territories,

  where they become disenfranchised, depending on which Territory they move to.

        B.     History And Structure Of UOCAVA

        44.    Congress enacted UOCAVA in 1986 to “facilitate absentee voting by

  United States citizens, both military and civilian, who are overseas.” H.R. Rep.

  No. 99-765, at 5 (1986), reprinted in 1986 U.S.C.C.A.N. 2009, at 2009.

        45.    UOCAVA built on existing federal statutes, which Congress enacted

  to safeguard the fundamental nature of voting rights and to cure a potential

  violation of equal protection by remedying the selective distribution of the



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  franchise to Americans who had left their State of residence and not adopted

  another state residence. See H.R. Rep. No. 94-649, pt. 1, at 2-3 (1975), reprinted

  in 1975 U.S.C.C.A.N. 2358, 2359-60.

         46.   Among other things, UOCAVA was enacted to supply alternative

  forms of voting to overseas citizens who seek to comply with state procedures but

  are unable to acquire or timely submit state absentee ballots. H.R. Rep. No. 99-

  765, at 5-6, 1986 U.S.C.C.A.N. at 2009-10.

         47.   Section 102 of UOCAVA (now codified as amended at 52 U.S.C. §

  20302) reaffirms the pre-existing requirement that States must “provide for

  absentee registration and absentee voting by absent uniformed services voters and

  overseas voters.” H.R. Rep. No. 99-765, at 20, 1986 U.S.C.C.A.N. at 2024; see

  also 52 U.S.C. § 20302(a)(1) (Each State shall “permit absent uniformed services

  voters and overseas voters to use absentee registration procedures and to vote by

  absentee ballot in general, special, primary, and runoff elections for Federal

  office.”).

         48.   Section 107 of UOCAVA defines the “overseas voter[s]” covered by

  section 102. As amended, the provision defines “overseas voter” to include an

  absent uniformed services voter, “a person who resides outside the United States

  and is qualified to vote in the last place in which the person was domiciled before

  leaving the United States,” and “a person who resides outside the United States and


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  (but for such residence) would be qualified to vote in the last place in which the

  person was domiciled before leaving the United States.” 52 U.S.C. § 20310(5)(B)-

  (C).

         49.       The same section also defines “State” as “a State of the United States,

  the District of Columbia, the Commonwealth of Puerto Rico, Guam, the Virgin

  Islands, and American Samoa.” Id. § 20310(6). Consistent with this definition, it

  also provides that the term “‘United States,’ where used in the territorial sense,

  means” the same grouping of States and Territories. Id. § 20310(8).

         50.       The NMI is excluded from both definitions, meaning it is not treated

  as a “State” or as part of the “United States” as used in UOCAVA. No explanation

  is given for this arrangement in the legislative history.

         51.       In short, the effect of UOCAVA’s statutory language is to protect the

  right to vote for President and voting representation in the U.S. House and Senate

  for certain U.S. citizens who move outside the States, but not for others, drawing

  lines even between U.S. citizens based on the particular overseas Territory in

  which they reside – lines that do not have, and never have had, any coherent

  justification.

         C.        History And Structure Of The Hawaii Overseas Voting Statute

         52.       Hawaii has adopted its own provision, Hawaii UMOVA, protecting

  and regulating the voting rights of overseas citizens. Hawaii UMOVA provides



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  that U.S. citizens “living outside the United States” can vote by absentee ballot as

  Hawaii residents in federal elections for President and the U.S. House and Senate.

  H.R.S. § 15D-1 to -18.

        53.    The Hawaiian statute defines the “United States,” when used in the

  territorial sense, as “the several states, the District of Columbia, Puerto Rico, the

  United States Virgin Islands, and any territory or insular possession subject to the

  jurisdiction of the United States.” Id. at § 15D-2. Thus, strictly read, Hawaii

  UMOVA does not grant enfranchisement to former state residents who move to

  any Territory. Nevertheless, through the enactment of regulatory rules by the

  Hawaii Office of Elections, Hawaii adheres to the requirement under UOCAVA

  that former Hawaii citizens now residing in the NMI may vote absentee in federal

  elections in Hawaii like “overseas” voters. See H.A.R. § 3-177-600.

        54.    In certain respects, Hawaii law also grants broader rights than

  UOCAVA to certain non-territorial residents. Specifically, section 15D-2 of the

  Hawaii Revised Statutes explicitly grants the right to vote under Hawaii UMOVA

  to U.S. citizens who are born outside of and have never resided in the United States

  or registered to vote in any other State, if their parents or guardians last resided in

  Hawaii before moving overseas and, absent the residence requirements, would

  otherwise be eligible to vote. Id. This means that even United States citizens who

  have never lived in the United States are eligible to vote in Hawaiian federal


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  elections, yet Hawaii state residents instantly lose their right to vote for President if

  they move to Guam, the U.S. Virgin Islands, American Samoa, or Puerto Rico.

        55.    Thus, under Hawaii law, former residents of Hawaii (and non-

  Hawaiian-born children of such former residents) living in a foreign country, or in

  the NMI – but not other U.S. Territories overseas – may vote in Hawaii by

  absentee ballot for President and voting representation in the U.S. House and

  Senate.

        D.     Equal Protection Principles

        56.    The Equal Protection Clause of the U.S. Constitution provides: “No

  state shall . . . deny to any person within its jurisdiction the equal protection of the

  laws.” U.S. Const. amend. XIV, § 1.

        57.    Equal-protection requirements apply both to federal and state laws.

  See, e.g., United States v. Windsor, 570 U.S. 744, 774 (2013) (“The liberty

  protected by the Fifth Amendment’s Due Process Clause contains within it the

  prohibition against denying to any person the equal protection of the laws.”).

        58.    The Equal Protection Clause guarantees a citizen’s “right to

  participate in elections on an equal basis” when that right is threatened by “statutes

  that selectively distribute the franchise.” Dunn v. Blumstein, 405 U.S. 330, 336

  (1972). “[O]nce the franchise is granted to the electorate, lines may not be drawn

  which are inconsistent with” equal protection. Harper v. Va. State Bd. of



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  Elections, 383 U.S. 663, 665 (1966). This constitutional principle is necessary to

  safeguard voters’ ability to protect their stake in the affairs of government “by

  exercising the equal right to vote.” Evans v. Cornman, 398 U.S. 419, 426 (1970).

        59.    The right to vote is “fundamental.” Yick Wo v. Hopkins, 118 U.S.

  356, 370 (1886). As a result, any statute that restricts the franchise is subject to

  strict scrutiny, and cannot be sustained unless “necessary to promote a compelling

  state interest.” Dunn, 405 U.S. at 330. Strict scrutiny applies to discriminatory

  expansion of the franchise, even if broader, or wholesale, limits would have been

  constitutionally permissible. See Kramer v. Union Free School Dist. No. 15, 395

  U.S. 621, 627 (1969); Idaho Coalition United for Bears v. Cenarrusa, 342 F.3d

  1073, 1077 n.7 (9th Cir. 2003).

        60.    The Supreme Court has also recognized that heightened scrutiny

  should be applied to laws disproportionately affecting groups, such as the

  territorial residents seeking redress here, that have “historically been ‘relegated to

  such a position of political powerlessness as to command extraordinary protection

  from the majoritarian political process,’” Plyler v. Doe, 457 U.S. 202, 216 n.14

  (1982) (citation omitted).

        61.    Even absent strict or otherwise heightened scrutiny, discriminatory

  laws are unconstitutional under the Equal Protection Clause when the

  discriminations they enact are arbitrary – including where the passage of time has


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  rendered justifications that seemed rational at the time the law was enacted

  arbitrary in the present day. United States v. Carolene Products Co., 304 U.S. 144,

  153 (1938) (explaining that where “the existence of a rational basis for legislation

  whose constitutionality is attacked” is at issue, “the constitutionality of a statute

  predicated upon the existence of a particular state of facts may be challenged by

  showing to the court that those facts have ceased to exist”).

         62.      Federal and Hawaii law grant voting rights for certain U.S. citizens

  who move overseas, while denying them to others who are similarly situated, even

  going so far as to draw lines based on the particular Territory in which a person

  resides. Neither Congress nor Hawaii has offered any justification for this

  arbitrary classification. Indeed, there is no proffered explanation that satisfies any

  potentially applicable standard of review.

                                   CLAIM FOR RELIEF
    UOCAVA And The Hawaii Statute Violate The Equal-Protection And Due
    Process Guarantees Under The Fifth And Fourteenth Amendments And 42
                                 U.S.C. § 1983
         By Treating Differently Former State Residents Depending On
                  Where They Now Reside Outside The States
         Plaintiffs incorporate by reference paragraphs 1 through 60 as if set forth

  here in full.

         63.      By treating similarly situated former state residents differently based

  on where they reside overseas, UOCAVA and Hawaii UMOVA violate the equal-



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  protection and due process guarantees of the Fifth and Fourteenth Amendments

  and 42 U.S.C § 1983. The two acts protect the voting rights of certain U.S.

  citizens who live outside the States in certain overseas Territories or foreign

  countries, while denying those rights to similarly situated U.S. citizens who live in

  other overseas Territories.

        64.    No legislature has articulated a legitimate justification for this

  arbitrary and discriminatory treatment of overseas citizens. There is no present-

  day justification for the discriminatory treatment, rendering the laws

  unconstitutional even pursuant to rational-basis review, much less the

  constitutionally required heightened scrutiny.

        65.    By reason of the foregoing, Defendants, acting under color of federal

  and state law, have deprived and will continue to deprive Plaintiffs of equal

  protection under the law secured to them by the Fourteenth Amendment and the

  Fifth Amendment, and protected against state interference specifically by 42

  U.S.C. § 1983.

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                                 PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs request of this Court the following equitable

  relief:

                     a. An order declaring that 52 U.S.C. § 20310, H.R.S. § 15D-1 to -

                        18 and H.A.R. § 3-177-600 violate the Fifth Amendment, the

                        Fourteenth Amendment, and 42 U.S.C § 1983 by defining

                        “United States” and “territorial limits of the United States” in a

                        manner that discriminates among former Hawaiian residents

                        who are disenfranchised from voting for President or voting

                        representation in Congress because they live overseas outside

                        the States;

                     b. A preliminary and permanent order enjoining Defendants, their

                        respective agents, servants, employees, attorneys, successors,

                        and all persons acting in concert with each or any of them, to

                        accept applications to vote absentee in future federal elections

                        in Hawaii from Individual Plaintiffs, based on the conclusion

                        that, in light of the fundamental nature of voting rights and the

                        clear intent of Congress to expand the voting rights of former

                        state residents as broadly as possible under UOCAVA, the most

                        equitable remedy is to eliminate the discrimination among



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                    former state citizens who are disenfranchised from voting for

                    President or voting representation in Congress because they live

                    overseas outside the States expanding voting rights to all such

                    former state citizens, including those living in each Territory.

                 c. Attorneys’ fees and costs to which Plaintiffs might be entitled

                    by law; and

                 d. Such other and further relief as this Court may deem just and

                    appropriate.

        DATED: Honolulu, Hawaii, October 29, 2020

                                               Respectfully submitted,

                                               /s/Anthony “T.J.” Quan
                                               ______________________________
                                               ANTHONY “T.J.” QUAN
                                               GEOFFREY M. WYATT
                                               (Pro Hac Vice)
                                               NICOLE M. CLEMINSHAW
                                               (Pro Hac Vice)
                                               ANDREW C. HANSON
                                               (Pro Hac Vice)
                                               ZACHARY W. MARTIN
                                               (Pro Hac Vice)
                                               VANESSA WILLIAMS
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